                   Case 8:22-cv-02597-DKC                   Document 11         Filed 10/12/22        Page 1 of 3
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                           District
                                                    __________      of Maryland
                                                                District of __________

   Maryland Chapter of the Sierra Club; Friends of                   )
   Moses Hall; Natural Resources Defense Council,                    )
     Inc.; National Trust for Historic Preservation                  )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 22-cv-2597
                                                                     )
 Federal Highway Administration; Stephanie Pollack ;                 )
      Gregory Murrill; Maryland Department of                        )
          Transportation; James F. Ports Jr.                         )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Maryland Department of Transportation and Secretary James F. Ports, Jr.
                                           Cheryl Brown-Whitfield
                                           Assistant Attorney General and Principal Counsel
                                           Office of the Attorney General
                                           MDOT Headquarters Building
                                           7201 Corporate Center Drive


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Ridhwan Sediqe
                                           Natural Resources Defense Council, Inc.
                                           111 Sutter Street, 21st Floor
                                           San Francisco, CA 94104



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:        10/12/2022
                                                                                          Signature of Clerk or Deputy Clerk
                   Case 8:22-cv-02597-DKC                    Document 11          Filed 10/12/22        Page 2 of 3
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                            Plaintiff(s)                              )
                                                                      )
                                v.                                             Civil Action No. 22-cv-2597
                                                                      )
 Federal Highway Administration; Stephanie Pollack;                   )
      Gregory Murrill; Maryland Department of                         )
         Transportation; James F. Ports Jr.                           )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Maryland Department of Transportation
                                           c/o Secretary James F. Ports, Jr.
                                           7201 Corporate Center Drive,
                                           Hanover, MD 21076




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                                           Natural Resources Defense Council, Inc.
                                           111 Sutter Street, 21st Floor
                                           San Francisco, CA 94104



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                   Case 8:22-cv-02597-DKC                   Document 11         Filed 10/12/22        Page 3 of 3
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  Maryland Chapter of the Sierra Club; Friends of                    )
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                            Plaintiff(s)                             )
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                                v.                                           Civil Action No. 22-cv-2597
                                                                     )
 Federal Highway Administration; Stephanie Pollack;                  )
      Gregory Murrill; Maryland Department of                        )
         Transportation; James F. Ports Jr.                          )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Transportation Secretary James F. Ports Jr.
                                           Maryland Department of Transportation,
                                           7201 Corporate Center Drive
                                           Hanover, MD 21076




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                                           111 Sutter Street, 21st Floor
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Date:      10/12/2022
                                                                                          Signature of Clerk or Deputy Clerk
